Case 2:19-bk-17990-VZ       Doc 36 Filed 09/24/19 Entered 09/24/19 13:58:54                Desc
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 1   Kurt Ramlo (SBN 166856)
     LEVENE, NEALE, BENDER, YOO &
 2   BRILL L.L.P.
     10250 Constellation Blvd., Suite 1700                       FILED & ENTERED
 3   Los Angeles, California 90067
     Telephone: (310) 229-1234
 4   Facsimile: (310) 229-1244                                         SEP 24 2019
     Email: KR@LNBYB.COM
 5
     Proposed Attorneys for Edward M. Wolkowitz,                  CLERK U.S. BANKRUPTCY COURT
                                                                  Central District of California
 6   Chapter 7 Trustee                                            BY carranza DEPUTY CLERK


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 8
                                UNITED STATES BANKRUPTCY COURT
 9
                CENTRAL DISTRICT OF CALIFORNIA -- LOS ANGELES DIVISION
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      In re                                        Case No. 2:19-bk-17990-VZ
12
      INTERWORKS UNLIMITED INC.,                   Chapter 7
13
                      Debtor.                      Order Granting Application of Chapter 7
14                                                 Trustee to Employ Levene, Neale, Bender,
                                                   Yoo & Brill L.L.P. as General Bankruptcy
15
                                                   Counsel
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17                                                 [No Hearing Required – LBR 9013-1(o)]

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              The Court considered the application (the “Application”) of Edward M. Wolkowitz, the
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     Chapter 7 Trustee (the “Trustee”) for the estate of Interworks Unlimited Inc., the Chapter 7
23
     debtor herein (the “Debtor”), for authority to employ Levene, Neale, Bender, Yoo & Brill L.L.P.
24
     (“LNBYB”), as general bankruptcy counsel effective as of July 31, 2019 and all papers filed by
25
     the Trustee in support of the Application. Proper notice of the Application was provided in
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     accordance with Local Rule 2014-1(b)(2) and no objection to the Application was filed, timely
27
     or untimely.
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 1           It appears that LNBYB’s employment is in the best interest of the Trustee and the

 2    Debtor’s estate. Good cause appearing, IT IS ORDERED that the Application is GRANTED

 3    and Trustee’s employment of LNBYB as his general bankruptcy counsel is approved upon the

 4    terms set forth in the Application, with such employment effective as of July 31, 2019.

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     Date: September 24, 2019
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